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                     UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF NEW HAMPSHIRE



United States of America

            v.                                  Case No. 07-cr-80-02-SM

Jeffrey Mealey



                                      ORDER



      Defendant Mealey's assented-to motion to continue the trial (document no. 52)

is granted. Trial has been rescheduled for the October 2008 trial period. Defendant

shall file a Waiver of Speedy Trial Rights not later than August 4, 2008. On the filing of

such waivers, the continuance shall be effective.

      The court finds that the ends of justice served by granting a continuance outweigh

the best interest of the public and the defendants in a speedy trial, 18 U.S.C. §

3161(h)(8)(B)(iv), in that failure to grant a continuance would unreasonably deny the

defendants the reasonable time necessary for effective preparation taking into account

the exercise of due diligence under the circumstances.

      Final Pretrial Conference: October 1, 2008 at 4:00 PM
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      Jury Selection:          October 7, 2008 at 9:30 AM

      SO ORDERED.



July 31, 2008                _________________________
                                    Steven J. McAuliffe
                                    Chief Judge

cc: Robert Kinsella, Esq.
    William Christie, Esq.
    U. S. Probation
    U. S. Marshal




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